                     Case: 1:08-cr-00401 Document #: 1835 Filed: 09/19/19 Page 1 of 8(Note:
ILND 245C (Rev.0412912019) Amended Judgment in            a   Criminal Case
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                                                                                                                                                                        (*))
Sheet I




                                        UNITED STATES DISTRICT COURT
                                                                        Northern District of Illinois

 UNITED STATES OF AMERICA                                                                        AMENDED JUDGMENT IN A CRIMINAL CASE
               v.
 AHMAD WILLIAMS                                                                                  CaseNumber: l:08-CR-00a01(4)
                                                                                                 USM    Number:       40322-424
 Date of Original Judgmentz 2/28/2012
                                                                                                   William Theis
 (Or Date of Last Amended Judgment)                                                              Defendant's Attorney
 Reason for Amendment:
 E       Correction of Sentence on Remand (18 U.S.C. 3742(f)(l) and (2))                         E    Modification of Supervision Conditions (18 U.S.C. $$ 3563(c) or
 E       Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                               3583(e))
         P. 35(b))                                                                               E    Modifi.ution of Imposed Term of Imprisonment for Extraordinary
 E       Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                          and Compelling Reasons (18 U.S.C. $ 3582(c)(l))

 E       Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                                 fl   Modification of Imposed Term of lmprisonment for Retroactive
                                                                                                      Amendment(s) to the Sentencing Guidelines ( I 8 U.S.C. $
                                                                                                      3s82(c)(2))
 Ex lvloclitlcation of'lnrptrscd Tenn of'lnrprisonment Pursuant to Section   .104   oi'thc
 lirstStep Act                                                                                   E    Direct Motion to District Court Pursuant   E   ZA U.S.C. 5 ZZSS

                                                                                                      or   E   r8 u.s.c. $ 3559(cX7)
                                                                                                 E    Modification of Restitution Order (18 U.S.C. $ 3664)
THE DEFENDANT:
   I      pleaded guilty to count(s) one.
   E      pleaded nolo contendere to count(s)                     which was accepted by the court.
   E      was found guilty on     count(s)             after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                                             Ended
                                                                                                                           Offense                          Count
 2l:846:Cd.F Conspiracy To Distribute Controlled Substance and l8:2 Aid and Abet                                            05/30/2008                      I




The defendant is sentenced as provided in pages                   I through         2 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this iudsment. the iudsment previouslv entered shall stand. (See
attachments)

   E      ttre defendant   has been found not guilty on count(s)
   I      Count(s) 22 is dismissed on the motion of the United States.

          It is ordered that the defendant must noti! the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must noti! the court and United States attorney of material changes in economic circumstances.

                                                                                                           Seotember 16.2019
                                                                                                           Date qElmposition of Jud




                                                                                                           Edmond E. Chang, United States District Judge
                                                                                                           Name and Title,df Judge

                                                                                                               4cplt^ton t1,t            1   9
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                   Case: 1:08-cr-00401 Document #: 1835 Filed: 09/19/19 Page 2 of 8 PageID       #:10884
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ILND 245C (Rev.04129/2019) Amended Judgment in   a   Criminal Case
Sheet 7 - Denial ofFederal Benefits                                                                                           Judgment   -   Page 2 of 2

DEFENDANT: AHMAD WILLIAMS
CASE NUMBER: 1 :08-CR-00401(4)
                                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
*One hundred and fourteen (114) months.


  tr     The court makes the following recommendations to the Bureau of Prisons:

  tr     The defendant is remanded to the custody of the United States Marshal.

  tr     The defendant shall surrender to the United States Marshal for this district:

            laton
       tr     as   notified by the United States Marshal.

       tr     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            tl      before 2:00 pm on

            !       as   notified by the United States Marshal.

            tr      as   notified by the Probation or Pretrial Services Office.




                                                                       RETURII

I have executed this judgment as follows:




Defendant delivered on                                                        at                                 with a certified copy of this
judgment.




                                                                                        UNITED STATES MARSHAL


                                                                                   By
                                                                                        DEPUTY UNITED STATES MARSHA
                 Case: 1:08-cr-00401 Document #: 1835 Filed: 09/19/19 Page 3 of 8 PageID #:10885
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t'Coun(s)              22                                         €*        E are   dixnrisfied   or   the mation sf   *e Uni*d   Stale*'

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DETEHDANT: AHMAD WLLIA$*$
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